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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:1801
Century Park East, Suite 1201, Los Angeles, CA 90067.

A true and correct copy of the foregoing documents entitled: will be served or was served (a) on the judge in chambers in
the form and manner required by LBR 5005-2(d); and (b) in the manner stated below: CHANGE OF ADDRESS

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On 9/7/23, I
checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons
are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


See next page


                                                                                            Service information continued on attached page




2. SERVED BY UNITED STATES MAIL:

On ______________, I caused to be served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on ___________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 9/7/2023                     David W. Meadows                                                  /s/ David W. Meadows
 Date                           Printed Name                                                    Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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1. Continued:


    x   Keith Patrick Banner kbanner@greenbergglusker.com,
        vafanasieva@greenbergglusker.com;calendar@greenbergglusker.com
    x   Robert D Bass bob.bass47@icloud.com
    x   Magdalena R Bordeaux mbordeaux@publiccounsel.org
    x   Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
    x   Brian L Davidoff bdavidoff@greenbergglusker.com,
        calendar@greenbergglusker.com;jking@greenbergglusker.com
    x   Philip D Dracht pdracht@drachtlaw.com
    x   Steven Goldsobel steve@sgoldsobel.com, vandad@sgoldsobel.com
    x   EmmaElizabeth A Gonzalez egonzalez@publiccounsel.org
    x   Sheryl K Ith sith@cookseylaw.com
    x   Jeffrey A Krieger jkrieger@ggfirm.com,
        kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenbergglusker.com
    x   David W. Meadows david@davidwmeadowslaw.com
    x   Kevin Meek kmeek@robinskaplan.com, kevinmeek32@gmail.com;kmeek@ecf.inforuptcy.com
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    x   Christopher E Prince cprince@lesnickprince.com,
        jmack@lesnickprince.com;cprince@ecf.courtdrive.com;jnavarro@lesnickprince.com
    x   Jason M Rund (TR) trustee@srlawyers.com, jrund@ecf.axosfs.com
    x   Daniel C Sharpe , daniel.c.sharpe@me.com
    x   Summer M Shaw ss@shaw.law,
        shawsr70161@notify.bestcase.com;shawsr91811@notify.bestcase.com
    x   Matthew N Sirolly msirolly@dir.ca.gov
    x   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
    x   Andy C Warshaw awarshaw@bwlawcenter.com, warshaw.andyb110606@notify.bestcase.com
    x   Genevieve G Weiner gweiner@sidley.com, laefilingnotice@sidley.com;genevieve-weiner-
        0813@ecf.pacerpro.com;psantos@sidley.com




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